      Case 1:20-cv-05861-EK-JRC Document 39 Filed 09/02/22 Page 1 of 2 PageID #: 140




                                                  STATE OF NEW YORK
                                            OFFICE OF THE ATTORNEY GENERAL

   LETITIA JAMES                                                                                       DIVISION OF STATE COUNSEL
  ATTORNEY GENERAL                                                                                           LITIGATION BUREAU



                                                      September 2, 2022
BY ECF
Hon. Eric R. Komitee
United States District Court, Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:        Sabino v. Ogle, 20-CV-5861 (EK) (JRC)

Dear Judge Komitee:

      This Office represents retired Senior Parole Officer (“SPO”) James Ogle of the New York State
Department of Corrections and Community Supervision (“DOCCS”) and writes in regard to the Motion to
Dismiss filed by this Office on August 10, 2022.

        In the June 28, 2022 Order, the Court provided that Plaintiff’s deadline to file an Amended Complaint
would be extended to July 11, 2022 and the Defendants’ time to respond would be extended to August 10, 2022.
Plaintiff then filed on July 5, 2022 (ECF # 31) what he would later clarify to be his Amended Complaint. See
Plaintiff’s letter filed on August 8, 2022 (ECF # 33). Consequently, this Office then filed its Motion to Dismiss
the Amended Complaint on behalf of SPO Ogle on August 10, 2022 in order to abide by the above-referenced
order. The Court, by e-order dated August 17, 2022, then granted Plaintiff’s application to construe ECF # 31 as
the Amended Complaint, and the docket sheet now identifies the document as such.

       Considering the somewhat complicated procedural history and further considering Plaintiff’s pro se status,
Defendant SPO Ogle respectfully requests that the Court establish a schedule for the remaining briefing on the
Motion to Dismiss, specifically, a due date for Plaintiff’s opposition papers and Defendant’s reply brief. Please
note we do not oppose an extended schedule for opposition considering the procedural novelties in this matter
and considering a Summons was issued to the City of New York on August 17, 2022.

       Thank you for your attention on this matter.

                                                             Respectfully submitted,
                                                             /s/ Andrew Blancato______
                                                             Andrew Blancato
                                                             Assistant Attorney General
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      Case 1:20-cv-05861-EK-JRC Document 39 Filed 09/02/22 Page 2 of 2 PageID #: 141




Enclosure

cc:   Saul Sabino (via U.S. Mail)
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